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                         Exhibit B

                    Phillips Declaration
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC1
                                                                    (Jointly Administered)
                     Debtors.


     DECLARATION OF STEPHANIE PHILLIPS IN SUPPORT OF DEBTORS’ FIFTH
       OMNIBUS (SUBSTANTIVE) OBJECTION TO CERTAIN (I) SUBSTANTIVE
      DUPLICATE CLAIMS, (II) NO LIABILITY CLAIMS, AND (III) REDUCE AND
                   ALLOW CLAIMS (NON-ABUSE CLAIMS)

             I, Stephanie Phillips, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury

that the following is true and correct to the best of my knowledge, information, and belief:

             1.     I am the Controller at the Boy Scouts of America (the “BSA”) and have served in

this capacity for 11 years. I submit this declaration (this “Declaration”) in support of the Debtors’

Fifth Omnibus (Substantive) Objection to Certain (I) Substantive Duplicate Claims, (II) No

Liability Claims, and (III) Reduce and Allow Claims (Non-Abuse Claims) (the “Objection”),2 dated

as of the date hereof and filed contemporaneously herewith.

             2.     I am over the age of eighteen and am authorized by the BSA and Delaware BSA,

LLC (“Delaware BSA”) to submit this Declaration. All statements in this Declaration are based

upon my personal knowledge, my review (or the review of others under my supervision) of

(a) business books and records kept by the Debtors in the ordinary course of business, (b) the

relevant proofs of claim, (c) the Schedules, and/or (d) the official register of claims filed in the



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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.
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chapter 11 cases. If called as a witness, I could and would competently testify to the facts set forth

in this Declaration.

       3.      To the best of my knowledge, information, and belief, insofar as I have been able

to ascertain after reasonable inquiry, considerable time and resources have been expended to

review and reconcile the proofs of claim filed against the Debtors in these chapter 11 cases. The

proofs of claim subject to the Objection were carefully reviewed and analyzed in good faith using

due diligence by myself, appropriate personnel of the Debtors, Alvarez & Marsal North America,

LLC, Omni, White & Case LLP, and Morris, Nichols, Arsht & Tunnell LLP.

                            SUBSTANTIVE DUPLICATE CLAIMS

       4.      Based upon a review and analysis of the Substantive Duplicate Claims listed on

Schedule 1 to the Proposed Order by myself and my team, the Substantive Duplicate Claims listed

under the column “Substantive Duplicate Claims to be Disallowed” is duplicative of amounts or

liabilities requested in another filed proof of claim, but with certain differences (e.g., a claim

reasserted in a subsequently-filed proof of claim that was not denoted as amending the initial proof

of claim).

       5.      Failure to disallow and expunge the Substantive Duplicate Claims could result in

the applicable claimants receiving multiple recoveries against the Debtors’ estates, to the detriment

of other similarly situated creditors. Moreover, elimination of the Substantive Duplicate Claims

will enable the Debtors to maintain a more accurate claims register.

                                    NO LIABILITY CLAIMS

       6.      Based upon a careful review and analysis of the Debtors’ books and records, the

Schedules, and the claims register, the Debtors have determined that the Debtors have no liability

with respect to the No Liability Claims listed on Schedule 2 to the Proposed Order. Failure to
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disallow and expunge the No Liability Claims will result in claimants receiving improper

recoveries on account of such No Liability Claims to the detriment of creditors with valid claims.

        33.     The No Liability Claims set forth on Schedule 2 (a) assert liability against Debtor

BSA for which the Debtors are not liable and/or assert liability against a non-debtor third party, or

(b) assert liability against Delaware BSA, which is properly asserted against Debtor BSA.

Delaware BSA is a non-operating entity and is not jointly and severally liable with BSA with

respect to any liabilities, except as a guarantor of certain prepetition secured obligations of the

BSA owed to JPMorgan Chase Bank, National Association. With respect to the No Liability

Claims asserted against Delaware BSA listed on Schedule 2, disallowance of these No Liability

Claims will not prejudice the claimants or their substantive rights against the Debtors because each

of these claimants has asserted a claim on account of the same liability against BSA, each of which

will remain on the claims register subject to the Debtors’ ongoing rights to object to such claims

on any applicable grounds, including other grounds set forth in the Debtors’ subsequent omnibus

objections.3 I respectfully submit the following additional detail for certain of the aforementioned

No Liability Claims.

        7.      Claim No. 408, which was filed by Edward G. Mills II against Delaware BSA in

the amount of $50,000,000.00, asserts the same liability with respect to a personal injury claim as

Claim No. 3084, which is properly asserted against the BSA. Delaware BSA is a non-operating

entity and is not jointly liable with the BSA with respect to any such personal injury obligations

and is not a guarantor of any such personal injury obligations. As such, Claim 408 against

Delaware BSA should be disallowed. Failure to disallow and expunge Claim No. 408 could result




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    For the avoidance of doubt, the Debtors reserve all rights to object to the Remaining Claims on any grounds
    permitted under applicable law.
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in the applicable claimant receiving multiple recoveries against the Debtors’ estates, to the

detriment of other similarly situated creditors. Moreover, the claimant’s properly asserted claim

will remain on the claims register. Elimination of the claim asserted against Delaware BSA will

enable the Debtors to maintain a more accurate claims register.

       8.      Claim Nos. 1260 and 1300, which were filed by the Estate of Rodolfo R. Trevino

against Delaware BSA each in the amount of $1,000,000.00, assert the same liability as Claim

12615, which is properly asserted against the BSA. Delaware BSA is a non-operating entity and

is not jointly liable with the BSA with respect to any claims and is not a guarantor of any claims,

except as a guarantor of certain prepetition secured obligations of the BSA owed to JPMorgan

Chase Bank, National Association. As such, Claim Nos. 1260 and 1300 should be disallowed.

Failure to disallow and expunge Claim Nos. 1260 and 1300 could result in the applicable claimant

receiving multiple recoveries against the Debtors’ estates, to the detriment of other similarly

situated creditors. Moreover, the claimant’s properly asserted claim will remain on the claims

register. Elimination of the claims asserted against Delaware BSA will enable the Debtors to

maintain a more accurate claims register.

       9.      Claim No. 1320, which was filed by Paul Brockland against Delaware BSA in a

contingent amount, asserts the same liability with respect to the BSA’s pension plan as Claim No.

1760, which is properly asserted against the BSA. Delaware BSA does not have any employees

and is not a sponsor nor guarantor of the BSA’s pension plan. As such, Claim No. 1320 should be

disallowed. Failure to disallow and expunge Claim No. 1320 could result in the applicable

claimant receiving multiple recoveries against the Debtors’ estates, to the detriment of other

similarly situated creditors. Moreover, the claimant’s properly asserted claim will remain on the
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claims register. Elimination of the claims asserted against Delaware BSA will enable the Debtors

to maintain a more accurate claims register.

       10.     Claim No. 1072, which was filed by a redacted claimant against Delaware BSA in

a contingent amount, asserts the same liability with respect to a wrongful death claim as Claim

No. 14023, which is properly asserted against the BSA. Delaware BSA is a non-operating entity

and is not jointly liable with the BSA with respect to any such obligation and is not a guarantor of

any such obligation. As such, Claim 1072 against Delaware BSA should be disallowed. Failure

to disallow and expunge Claim No. 1072 could result in the applicable claimant receiving multiple

recoveries against the Debtors’ estates, to the detriment of other similarly situated creditors.

Moreover, the claimant’s properly asserted claim will remain on the claims register. Elimination

of the claim asserted against Delaware BSA will enable the Debtors to maintain a more accurate

claims register.

       11.     Claim No. 916, which was filed by a redacted claimant against Delaware BSA in

the amount of $100,000.00, asserts the same liability with respect to a personal injury claim as

Claim No. 17529, which is properly asserted against the BSA. Delaware BSA is a non-operating

entity and is not jointly liable with the BSA with respect to any such personal injury obligations

and is not a guarantor of any such personal injury obligations. As such, Claim 916 against

Delaware BSA should be disallowed. Failure to disallow and expunge Claim No. 916 could result

in the applicable claimant receiving multiple recoveries against the Debtors’ estates, to the

detriment of other similarly situated creditors. Moreover, the claimant’s properly asserted claim

will remain on the claims register. Elimination of the claim asserted against Delaware BSA will

enable the Debtors to maintain a more accurate claims register.
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        12.     Claim No. 1318, which was filed by Thomas R. Meyering against Delaware BSA

in the amount of $776.50, asserts the same liability with respect to the BSA’s pension plan as

Claim No. 2650, which is properly asserted against the BSA. Delaware BSA does not have any

employees and is not a sponsor nor guarantor of the BSA’s pension plan. As such, Claim 1318

against Delaware BSA should be disallowed. Failure to disallow and expunge Claim No. 1318

could result in the applicable claimant receiving multiple recoveries against the Debtors’ estates,

to the detriment of other similarly situated creditors. Moreover, the claimant’s properly asserted

claim will remain on the claims register. Elimination of the claim asserted against Delaware BSA

will enable the Debtors to maintain a more accurate claims register.

        13.     For these reasons, the No Liability Claims identified on Schedule 2 attached to the

Proposed Order should be disallowed and expunged, as they are claims for which (a) the Debtors

are not liable and/or assert liability against a non-debtor third party, or (b) assert liability against

Delaware BSA, which is properly asserted against Debtor BSA.

                                REDUCE AND ALLOW CLAIMS

        14.     Based upon a careful review and analysis of the Debtors’ books and records, the

Schedules, and the claims register, the Debtors have determined that the Reduce and Allow Claims,

as set forth on Schedule 3 to the Proposed Order, were filed for amounts that differ from and are

greater than the amounts reflected in the Debtors’ books and records. Therefore, the Reduce and

Allow Claims should be reduced to the extent set forth on Schedule 3 to the Proposed Order.

Failure to do so would result in the applicable claimants receiving recoveries against the Debtors’

estates that are greater than the amounts due to such claimants.

        15.     The information contained in the Objection and in the schedules attached to the

Proposed Order is true and correct to the best of my knowledge, information and belief.
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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Date: October 15, 2021
                                            /s/ Stephanie Phillips

                                            Stephanie Phillips
                                            Controller
                                            BOY SCOUTS OF AMERICA
